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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
BRENDA COLON,

                                            Plaintiff,                         24 Civ. No. 1988 (PAE)

                          -against-                                            PRE-SETTLEMENT
                                                                              CONFERENCE ORDER
TWENTY WEST PARTNERS, INC., et
al.,

                                             Defendants.
-----------------------------------------------------------------X
GARY STEIN, United States Magistrate Judge:

        This action is scheduled for a Pre-Settlement Conference Call on Tuesday, October 1,

2024 at 10:00 a.m., to discuss the scheduling of and preparation for a Settlement Conference.

The parties are directed to consult the undersigned’s Settlement Conference Procedures,

available at https://nysd.uscourts.gov/hon-gary-stein. Counsel are directed to join the conference

via Microsoft Teams at the scheduled time. Please dial (646) 453-4442, Access Code: 335 721

068#. Prior to the call, counsel are directed to confer with each other and their clients so that,

during the call, they can propose three mutually convenient dates for a Settlement Conference in

December 2024.

        SO ORDERED.

DATED:           New York, New York
                 September 6, 2024

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                                                             The Honorable Gary Stein
                                                             United States Magistrate Judge
